              Case 2:12-cr-00027-GEB Document 160 Filed 01/13/17 Page 1 of 2
PROB 35 (ED/CA)

                              Order Terminating Supervised Release
                                Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                   FOR THE


                               EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                        )
                                                      )
                             v.                       )
                                                      )       Docket No.: 0972 2:12CR00027-003
              Rani Rachana Singh-Lal                  )
                                                      )
                                                      )


On August 2, 2013, the above-named was sentenced to Supervised Release for a period of 3
years. Supervision commenced on April 14, 2015.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that the supervisee be discharged
from supervision.


                                           Respectfully submitted,

                                             /s/ Tim D. Mechem

                                              TIM D. MECHEM
                                  Supervising United States Probation Officer


Dated:            January 10, 2017
                  Fresno, California
                  TDM/rmv


                                    /s/ Brian J. Bedrosian
REVIEWED BY:                   BRIAN J. BEDROSIAN
                               Supervising United States Probation Officer



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                                                                                                              Rev. 06/2015
                                                                                EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)



Re:        Rani Rachana Singh-Lal
           Docket No: 0972 2:12CR00027-003
           Report and Order Terminating
           Prior to Original Expiration Date




                                       ORDER OF COURT

Pursuant to the above report, it is ordered that Rani Rachana Singh-Lal be discharged from
Supervised Release, and that the proceedings in the case be terminated.

Dated: January 12, 2017




cc:        AUSA (NAME) - Philip A. Ferrari
           FLU Unit – United States Attorney’s Office
           Fiscal Clerk - Clerk's Office
           Supervisee - Rani Rachana Singh-Lal




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                                                                                                Rev. 06/2015
                                                                  EARLY TERMINATION ~ ORDER (PROB35).DOTX
